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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

                                              :
UNITY TUBE, INC.                              :
                                              :        COMPLAINT
                                              :
                      Plaintiff,              :
                                              :
               v.                             :        JURY TRIAL DEMANDED
                                              :
NORFOLK SOUTHERN                              :
CORPORATION, and NORFOLK                      :
SOUTHERN RAILWAY COMPANY,                     :
                                              :
                      Defendants.             :

                                         COMPLAINT

       Plaintiff Unity Tube, Inc., by and through undersigned counsel, file this Complaint

against Defendants Norfolk Southern Corporation and Norfolk Southern Railway Company and

allege as follows:

                                   STATEMENT OF THE CASE

       1.       Plaintiff is a business that was located in East Palestine, Ohio at the time of the

Norfolk Southern train derailment. Plaintiff brings claims against Defendants arising from the

derailment of a train hauling toxic chemicals in East Palestine, Ohio, on or about February 3,

2023 (“Derailment”). The resulting fire and release of toxic chemicals into the air, soil, and

water have caused, and will continue to cause, direct and substantial damages to Plaintiff.

       2.       Plaintiff Unity Tube, Inc. is an Ohio corporation with its principal place of

business located at 1862 State Route 165, East Palestine, Ohio 44413.

       3.       Defendant Norfolk Southern Corporation (“NSC”) is a Virginia corporation with

its principal place of business in Atlanta, Georgia.




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           4.      Defendant Norfolk Southern Railway Company (“NSRC”) is a Virginia

 corporation with its principal place of business in Atlanta, Georgia. NSRC is a wholly owned

 subsidiary of NSC.

           5.      NSRC operates approximately 19,300 route miles (in 22 states and the District of

 Columbia) and serves every major container port in the eastern United States.

          6.       According to the Federal Railroad Administration (“FRA”), NSRC had the most

derailments of all railroad companies in Ohio from 2019 through 2022, with 67 accidents total—

22 in 2019, 18 in 2020, 15 in 2021 and 13 in 2022.

          7.       According to the FRA, NSRC also had the most derailments of all railroad

companies in Pennsylvania. This includes 74 total accidents (89.2% of all derailments in

Pennsylvania) from 2019 to 2022—23 in 2019, 14 in 2020, 23 in 2021, and 14 in 2022.

          8.       At all relevant times, NSC and NSRC acted individually, as well as by and

through one another and their respective officers, directors, executives, employees, contractors,

subcontractors, and/or agents. Collectively, Defendants NSC and NSRC will be identified as

“Norfolk,” “Norfolk Southern,” or “Defendants.”

                                    JURISDICTION AND VENUE

           9.      This Court has jurisdiction over this action based upon 28 U.S.C. § 1332. Plaintiff

 is a citizen and resident of Ohio. Defendants Norfolk Southern are both citizens of Virginia and

 Georgia. The amount in controversy herein exceeds the sum of $75,000, exclusive of interest and

 costs.

           10.     Venue is appropriate in this Court in that a substantial part of the events, acts and

 omissions giving rise to the claims herein occurred in this district and division.




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                                    FACTUAL ALLEGATIONS

Norfolk’s Implementation of “Precision Scheduled Railroading”

       11.      For approximately five years prior to the Derailment, Defendants had been

implementing a number of operational changes that directly prioritized profits over safety through

the use of a strategy known as “Precision Scheduled Railroading” (“PSR”).

       12.      While PSR is not defined by any specific list of required operational changes, PSR

is associated with operational changes designed to increase efficiency in terms of operating costs

relative to revenue. These operational changes associated with PSR include reductions in staff;

longer, heavier trains; tighter schedules; and reductions in assets such as locomotives. At its core,

the PSR mandates that trains should transport larger and heavier loads in less time with fewer

workers performing onsite operation and safety procedures.

       13.      In 2019, Norfolk laid out its three-year transformational plan to implement PSR

(referred to as the “Thoroughbred Operating Plan” or “TOP21”). The TOP21 plan included

centralizing operations; reducing staff; running fewer, heavier, faster trains; and optimizing

Norfolk’s network in order to increase efficiency.

       14.      At its core, PSR was Norfolk’s plan to cut jobs, cut costs, cut safety, and increase

risks – all so Norfolk could increase their profits.

       15.      Upon information and belief, these same or similar operating changes were in place

at the time of the Derailment and subsequent explosion, particularly as several key metrics leading

up to the Derailment showed a dramatic reduction in Norfolk Southern’s workforce, a reduction in

train engineers/operators, an increase in its trains’ average speed, and a resulting sharp increase in

company profits as these operational and safety cuts were enacted.

       16.      Norfolk identified its “Operating Ratio” as the key metric to measure its progress.

Operating Ratio was to be calculated by dividing its operating expenses by its operating revenues. In


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essence, Norfolk sought to significantly increase revenues by cutting otherwise reasonable safety and

operational costs. Norfolk set a goal of reducing its Operating Ratio to 60% by 2021 (it was then

running at 65.4%). Norfolk also changed its executive compensation in 2019, tying approximately

80% of the compensation to PSR objectives, including Norfolk’s Operating Ratio.

        17.      In furtherance of these goals, Norfolk executives set a tight deadline to complete its

transition, namely, full PSR implementation by 2021. This required the railroad to cut headcount by

500 railway workers in 2019 and by 3,000 by 2021.

        18.      In 2019, Norfolk put out a statement regarding its PSR overhaul stating, “[w]e set

company records for train speed, which improved 17% year-over-year, and terminal dwell, which

was down 30%[.]”

        19.      According to Association of American Railroads (“AAR”) and Surface

Transportation Board “(STB”) data, the average operating ratio for Class I railroads decreased from

73% in 2011 to 62% in 2021; reflecting an increase in net revenue of about 58%—from almost $18

billion to more than $28 billion—over that same period.

        20.      By 2022, Norfolk Southern’s had cut even deeper into its workforce, employing an

average of only about 19,000 railway workers compared with about 27,000 workers only 5 years

earlier – a reduction of nearly 30% of its workforce. These reductions directly and proximately

resulted in reduced operational safety for Norfolk trains and increased risk to Plaintiff.

        21.      Norfolk’s executives earned millions of dollars in awards as Norfolk’s Operating

Ratio and headcount dropped each year. In 2021, when Norfolk hit a record low Operating Ratio, it

helped then-CEO Squires land nearly $3.5 million in cash bonuses – almost three times what he

had earned just the year before. At least four other executives received more than a million dollars

each in similar incentive-based bonuses. Tellingly, in the Proxy Statement the Company filed with




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the SEC on March 31, 2022, Norfolk highlighted its 2021 “record performance for train length and

weight” as partial justification for why [Norfolk] executives earned a cash payout that year.

       22.      NSC has also issued Railroad Special Hazmat Instructions that govern the

transportation and handling of hazardous materials by NSRC employees.

       23.      NSC requires each NSRC employee who inspects or transports hazardous materials

by rail to have a copy of and comply with the Railroad Special Hazmat Instructions.

       24.      Upon information and belief, NSC’s Railroad Special Hazmat Instructions were in

place at the time of the train derailment and subsequent explosion.

The Safety Concerns of PSR

       25.      For years, safety concerns have been building in the railroad industry as a result of

PSR, the growing length of trains, and the industry’s increased efforts to unreasonably reduce costs

and headcount.

       26.      Longer trains coupled with fewer personnel to inspect, maintain, and operate each

train directly and proximately decrease operation safety and increase the potential for derailments.

Employees have described a once reasonable system stretched beyond its limits, with one

employee expressing, “the workers are exhausted, times for car inspections have been drastically

cut, and there are no regulations on the size of these trains.”

       27.      According to STB employment data, Norfolk reduced its workforce by 39% from

2011 through 2021, with most of that reduction occurring between 2019 and 2021.

       28.      According to GAO, the largest percentage decrease was among “Maintenance of

Equipment and Stores” employees, which includes mechanical staff, such as foremen, carmen, and

mechanist, who are responsible for the maintenance of equipment, including railcars and

locomotives. The next largest percentage decrease was among “Transportation (Other than Train




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and Engine) employees, which include train dispatchers, crew dispatchers, and railyard supervisors

(called yardmasters).

        29.      Norfolk’s decision to adopt PSR likewise contributed to them cutting the use of

signalmen to install, repair, and maintain signal systems, which railroads use to direct trains from

one location to the next safely and on time.

        30.      These same signalmen are responsible for inspecting, maintaining, and repairing

wayside detectors like “hot-box” detectors, which alert operators to equipment failures while the

train is in operation.

        31.      In fact, under Norfolk’s PSR program, Defendants have no such signalmen

employed in or around the area of East Palestine, Ohio.

        32.      In 2022, GAO reported that all seven Class I railroads stated they ran longer trains

with the underlying goal of increasing operational efficiency. For example, according to one

railroad, average train length has increased from 5,250 feet in 2011 to about 7,000 feet in 2021.

According to another Class I railroad, the percentage of trains over 10,000 feet long has increased

from less than 3 percent in 2017 to more than 25 percent in 2021. According to a third railroad,

while the average train length has increased from about 6,300 feet in 2019 to nearly 7,000 feet in

2021, the percentage of trains over 10,000 feet has increased from 0.2 percent to about 5 percent

during that timeframe.1

        33.      As Norfolk has aggressively implemented its PSR program over the previous four

years, Norfolk’s Federal Railroad Administration (“FRA”) train accident rate has likewise

increased. In December 2022, just two months before the Derailment here, GAO reported that

Norfolk had hit a 10-year high with its accident rate in 2021. Similarly, Class I freight railroads

suffered two derailments for every million miles traveled in 2022.


1
 GAO, RAIL SAFETY: Freight Trains Are Getting Longer, and Additional Information Is Needed to Assess Their
Impact, GAO-19-443 (Washington, D.C.: May 30, 2019).
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        34.      The FRA reports that between January 2022 and May 2022, Norfolk suffered from

significant safety violations including undercounting, inadequately observing rules failures, and

failing to verify the performance of operational tests. FRA noted that “NS did not take immediate

actions to remediate defective conditions” and that “these conditions have exposed crews to

increased hazards, potential property damage, and injuries due to defective equipment knowingly

left in service”. Additionally, FRA identified a number of rail component defects and warned

Norfolk Southern that “when critical components are not maintained, there is an increased risk of

sudden failure with catastrophic potential.”

        35.      According to data from the FRA, there were a total of 103 derailments in January

2023, and 11 were Norfolk derailments.

        36.      Critics within the industry have stated that the Operating Margin incentivizes

executives to cut costs at the expense of safety.2

        37.      Steven Ditmeyer is among those who has connected the drive to lower operating

costs – and thereby improve Operating Margin – directly to longer, more dangerous trains, stating:

“The longer they make [the train], the per-car cost of labor is less. And the longer trains have

greater damage done, greater, larger pileups, fires and so on.”

        38.      After seeing how Norfolk’s executive compensation rules could lead to large cash

payouts by driving down the Operating Ratio by just a fraction of a percent, Jared Cassity (the

safety director of SMART, the nation’s largest railroad union) stated: “You have these executives

that are getting rewarded and so the instructions keep coming down no matter what . . .. I want

more and that’s why you see the railroads saying that the train length is going to continue to

grow no matter what.” (emphasis added)

Norfolk Prioritized Profits Over Safety and Actively Lobbied to Block Reasonable Safety
Precautions
2
  According to Steven Ditmeyer, the former director of research and development at the FRA, “[r]ailroads are seeking
to have that number be the smallest, lowest number possible.” He explained, “[y]ou want to squeeze the costs and
increase the revenues.”
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       39.      As the railroad industry and Norfolk embraced PSR, Norfolk ramped up its lobbying

efforts - including most notably in Columbus, Ohio - to prevent safety regulations that would

increase costs and hamper the operating margins which were so closely tied to executive

compensation and bonuses.

       40.      Norfolk has spent tens of millions of dollars over the years lobbying state

governments, Congress, and federal agencies by trying to block potentially costly safety reforms,

including by opposing whistleblower protections and speed limits for ultrahazardous flammable

trains. Additionally, Norfolk has opposed an ongoing federal effort to require a minimum number

of crew members on a train. In December 2022, Norfolk reportedly told the FRA that running

trains with just a one-person crew is safe.

       41.      In 2015, Norfolk played a key role in defeating an Obama-era safety rule that was

issued following a number of oil train accidents. The rule required trains carrying oil or other

hazardous liquids to be equipped with electronically controlled pneumatic (“ECP”) brakes on their

rail cars (“ECP Brake Rule”). While air brakes stop train cars individually, as air pressure moves

sequentially from one car to the next, ECP brakes operate using an electronic signal which can stop

an entire train much faster. Notwithstanding the safety benefits, Norfolk retained 47 federal lobbyists

to fight against the ECP Brake Rule. Ultimately, the ECP Brake Rule was repealed in 2018.

       42.      In Ohio alone, Norfolk has made over 100 contributions to Ohio state officials and

candidates over the last 5 years, according to data from Ohio’s secretary of state. Additionally,

Norfolk has hired lobbyists to influence the course of legislation with Norfolk filing more than 200

state-required quarterly reports disclosing lobbying in the past 6 years.

       43.      In Ohio, Norfolk employs the well-connected Columbus-based lobbying firm called

The Success Group. Governor DeWine’s former legislative director Dan McCarthy led the firm

prior to joining the administration. McCarthy was later implicated in facilitating the bribery of the

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former Ohio House of Representatives Speaker Larry Householder, who was convicted of

racketeering conspiracy for taking $60 million from Ohio utility First Energy to assist that

company in passing House Bill 6. McCarthy resigned from the DeWine administration in

September 2021. The Success Group began representing Norfolk in 2009. Since then, Norfolk’s

lobbyists have repeatedly fended off legislation imposing a minimum staffing requirement of a 2-

person crew or penalties for blocked railroad crossings.

Derailment of Train 32N

          44.      On Friday February 3, 2023, Norfolk Southern Freight Train 32N (“Train 32N”)

was traveling from Madison County, Illinois to Conway, Pennsylvania.

          45.      Upon information and belief, multiple safety issues occurred on Train 32N that

evening and were either undetected or ignored by Defendants’ employees.

          46.      Notably, a VICE article published after the Derailment entitled ‘32 Nasty’: Rail

Workers Say They Knew the Train That Derailed in East Palestine Was Dangerous, “two workers

… said 32N in particular was a known safety risk.” 3

          47.      These two workers told VICE that “multiple red flags, including two mechanical

    problems, about 32N went undetected or were ignored in the hours leading up to the crash.”

          48.      Defendants’ rail lines operate a hot bearing detector (“HBD”), that transmits an

audible alarm to the train crew to slow and/or stop the train to inspect a hot axel.

          49.      A wheel bearing from Train 32N’s 23rd rail car recorded a temperature of 38

degrees Fahrenheit above ambient temperature at mile post 79.9.

          50.      The next HBD Train 32N passed at mile post 69.01 recorded that the same bearing’s

temperature had reached 103 degrees Fahrenheit above ambient temperature.



3
 Vice, ’32 Nasty:’ Rail Workers Say They Knew the Train That Derailed in East Palestine Was
Dangerous, available at https://www.vice.com/en/article/88qze4/32-nasty-rail-workers-say-theyknew-the-train-that-
derailed-in-east- palestine-was-dangerous (Feb. 15, 2023) (last visited Oct 6, 2023).
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       51.     As Train 32N passed the third HBD at mile post 49.81, the wheel bearing on rail car

23 reached a temperature of 253 degrees Fahrenheit above ambient temperature. According to

Defendants’ own policies, any reading above 170 degrees Fahrenheit requires the train crew to stop

the train. Defendants considers any reading over 200 degrees “critical.”

       52.     Video footage from around this same time caught one of the rail cars of Train 32N

sparking in the wheel bearing and axle area. A former Norfolk train engineer who viewed the video

explained: “That was a tell-tell sign ‘cause there’s so much pressure, so much on that bearing, it

won’t last long sparking that hot that much.’”

       53.     Before the full train derailment took place, a mechanical defect alarm alerted the

crew members of the malfunctioning railcar axle. In addition, Train 32N had broken down at least

once prior to the wheel bearing overheating on the same evening on this same route.

       54.     An emergency brake was also applied after the workers on Train 32N finally

became aware of these malfunctions but before the full Derailment occurred.

       55.     Around 8:55 p.m. on February 3, 2023, the overheated wheel bearing caused rail car

23’s axel to fail, derailing the car and causing approximately 40 of the other train cars to derail with

it in or near East Palestine, Ohio (“Derailment”).

       56.     Approximately 11 of the derailed rail cars were carrying abnormally dangerous

and/or ultrahazardous chemicals that are known to be carcinogens by the Environmental Protection

Agency (“EPA”) including, but not limited to, polyvinyl, polyethylene, vinyl chloride, ethylene

glycol monobutyl ether, ethylhexyl acrylate, isobutylene, benzene, and butyl acrylates (“Toxic

Chemicals”).

       57.     According to employees familiar with this matter, there had been widespread

concerns that night among those working on Train 32N regarding the train’s excessive length and




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weight – approximately 151 cars, 9,300 feet long, and 18,000 tons. Additionally, Train 32N was

backloaded with 40% of its weight, the heaviest tanker cars, at the rear.

       58.     Through information and belief, Norfolk Southern was aware of the increased risks

of a dangerous event occurring with Train 32N prior to its derailment, but intentionally acted – and

instructed others to act – in a manner that violated its own internal safety or operating procedures.

       59.     Through information and belief, Norfolk Southern was aware – and had advance

notice – that the personnel working on Train N32 were not adequately prepared to mitigate or

prevent the derailment on February 3, 2023, or to comply with the companies’ own internal or

outwardly stated safety protocols.

       60.     All of these factors contributed to both the initial breakdown and the Derailment.

       61.     The immediate result of the Derailment was that millions of pounds of Toxic

Chemicals were spilled into the air, soil, and water – including directly onto Plaintiff’s property.

Norfolk’s Response Compounded the Derailment’s Harm

       62.     Norfolk failed to report the Derailment to federal authorities until two hours after

the Derailment at approximately 10:53 p.m., in violation of applicable federal regulations. See

C.F.R. § 225.9(a)(2)(iv).

       63.     Following the Derailment on the evening of Friday, February 3, 2023, the fire

created by the burning railcars and their contents was large enough to be detected by the Pittsburgh,

Pennsylvania weather radar approximately 50 miles away for several hours. The fire’s intensity

appeared to peak at approximately 10:40 PM, and the resulting smoke plume in the immediate

aftermath traveled at least as far as Beaver Falls, Pennsylvania.

       64.     Defendants failed to promptly inform firefighters and other first responders of the

hazardous contents of many rail cars on Train 32N. This lack of information impeded first

responders’ response, preventing them from extinguishing the fire and allowing it to rapidly spread.

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       65.     The fire continued to burn with increasing intensity for the next few days on

Saturday (February 4, 2023), Sunday (February 5, 2023), and/or Monday (February 6, 2023).

       66.     On or about Saturday February 4, 2023, government officials issued an evacuation

order for residents within a one-mile by two-mile radius of the Derailment Site (“Danger Zone”)

affecting thousands of residents.

       67.     On or about Sunday February 6, 2023, residents of Mahoning County and other

surrounding communities were advised to stay indoors and shelter in place.

       68.     The railcars containing the Toxic Chemicals were equipped with emergency valves

to vent the contents and relieve pressure, but multiple of these valves malfunctioned as a result of

poor maintenance by the Defendants.

       69.     On Sunday and/or Monday (February 5-6, 2023), there was an increase in

temperature and pressure within one of the railcars containing vinyl chloride due to malfunctioning

safety valves. This increased the potential of catastrophic tanker failure and an explosion.

Norfolk’s Controlled Burn Caused Widespread Contamination

       70.     Upon information and belief, NSC and NSRC reported to federal, state, and local

officials that the only way to avoid a catastrophic tanker failure and explosion was to conduct a

“controlled release” of the vinyl chloride in the compromised tanker.

       71.     Before conducting this “controlled burn,” and well after the train had derailed,

Defendants’ response team made the decision to disregarded materially relevant statements from

third parties about the contents of the railcars and their current state in undertaking the “controlled”

vent and burn of the vinyl chloride.         This “controlled burn” decision, and all subsequent

recommendations made and/or instructions given by Defendants regarding the derailed Train N32,

would end up independently being direct and proximate causes of Plaintiff’s damages.



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       72.     On or about Monday February 6, 2023, at approximately 4:30 p.m., Defendants

intentionally blew holes in each of the derailed cars containing vinyl chloride to drain the chemical

into a trench where flares would then ignite and burn the vinyl chloride away (“Controlled

Release”).

       73.     Following the Controlled Release, a large plume of thick black smoke formed a

mushroom-like cloud, which dispersed the Toxic Chemicals into the environment (“Controlled

Burn”), causing further contamination and exposure.

       74.     Defendants failed to investigate possible alternatives to the Controlled Burn, instead

choosing to pursue the course that would allow the railroad to re-open as quickly as possible,

regardless of the consequences to Plaintiff and the East Palestine community. The failure to timely

convey information to authorities as described above also prevented the evaluation and exploration

of safer alternatives to the Controlled Burn.

       75.     During the resulting multi-day fire, at least three railcars containing diethylene

glycol broke open and discharged into the surrounding environment.




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        76.    The smoke from the Controlled Release and ongoing railcar fires was trapped from

rising higher into the atmosphere due to an inversion layer at approximately 3,000 feet, resulting in

the toxic plume of thick, billowing smoke that spread out horizontally through East Palestine and

neighboring towns. This effect is shown clearly in the picture above taken during the Controlled

Release and Burn.

        77.    The expected heat generated by this burn would have exceeded 2,000 degrees. The

residues, gases, and vapors produced by the fire at this temperature are Products of Incomplete

Combustion (PIC) that would have included particle matter (PM), polycyclic aromatic

hydrocarbons (PAHs), carbon dioxide, carbon monoxide, heavy metals, dioxins, and other complex

chemical compounds related to the constituents which were burned out of the derailed Train N32

cars.

        78.    The extreme heat from Defendants’ “controlled burn” then drove PICs into building

infrastructures as heat expanded or opened the surface. Cooling then locked in the PICs. This heat

was so extreme that it would cause increased particle vibration and force acceleration into and

through the walls of proximate structures immediate adjacent to the derailment. Often heat damage

and PIC deposits of this type do not manifest themselves until the structure is entirely removed.

        79.    In Youngstown, Ohio – more than 20 miles from the Derailment Site – an EPA

airborne particulate pollution monitor detected a greater than five-fold increase in the concentration

of fine particulate matter during the time of the Controlled Burn.

        80.    Following the completion of the burn, previously evacuated residents and businesses

were given the “all clear” for return by Thursday, February 9, 2023.

        81.    On February 10, 2023, the EPA stated that the Derailment and subsequent fire and

Controlled Burn released, and continues to release, including but not limited to, vinyl chloride,




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butyl acrylate, ethylhexyl acrylate, and ethylene glycol monobutyl ethers to the air, surface soil,

and surface waters.

The Toxic Chemicals Released are Extremely Hazardous to Human Health

       82.     Vinyl chloride is classified by the Department of Health and Human Services as

known to be a carcinogen. The EPA has classified it as a Group A human carcinogenic – the most

dangerous to human health – by the inhalation, oral, and dermal routes of exposure. Short-term

exposure to vinyl chloride can cause, including but not limited to, dizziness, nausea, headaches,

difficulty breathing, lung irritation, chest pains, coughing, eye irritation, loss of consciousness.

Vinyl chloride exposure also creates an increased risk of a rare form of liver cancer (hepatic

angiosarcoma), as well as primary liver cancer (hepatocellular carcinoma), brain and lung cancers,

lymphoma, and leukemia. When vinyl chloride burns, it decomposes into hydrogen chloride and

phosgene. “Phosgene is highly poisonous and was used extensively during World War I as a

choking agent, while hydrogen chloride is irritating and corrosive to any tissue with which it comes

into contact.” According to the National Transportation Safety Board (“NTSB”):

               Vinyl chloride is a colorless gas with a mild, sweet odor that is used to make
               polyvinyl chloride (“PVC”). It is a gas at room temperature; however, it is
               shipped as a liquid under pressure. It is highly flammable and vapor/air
               mixtures are explosive. The odor threshold for detection is about 3,000
               parts per million (ppm) in air. The Occupational Safety and Health
               Administration (“OSHA”) regulates occupational exposures to vinyl
               chloride under 29 CFR 1910.1017. Paragraph C of the standard mandates
               that no employee may be exposed to vinyl chloride at concentrations greater
               than 1 ppm averaged over any 8-hour period; no employee may be exposed
               at concentrations greater than 5 ppm averaged over any period not exceeding
               15 minutes; and that no employee may be exposed to vinyl chloride by direct
               contact with liquid vinyl chloride. Due to the significant difference between
               the odor threshold and the acceptable occupational exposure levels, workers
               can easily be overexposed without becoming aware of vinyl chloride’s
               presence. The odor threshold is too high to provide adequate warning for
               hazardous conditions.




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       83.     Butyl acrylate is a clear colorless liquid with a sharp characteristic odor. It is used to

manufacture paints, sealants, and adhesives. Exposure can cause irritation of the eyes, skin, and

upper respiratory system.

       84.     Ethylhexyl acrylate is a colorless liquid used to manufacture paints and plastics.

Exposure by inhalation or absorption through the skin can irritate and burn the skin, eyes, nose,

throat, and lungs and can cause dizziness, nausea, drowsiness, and headaches.

       85.     Ethylene glycol monobutyl ether is a colorless, toxic, flammable liquid used to

manufacture paints and varnishes. Its vapors are heavier than air and will spread along the ground

and collect in low or confined areas such as sewers and basements. Exposure by inhalation or

absorption through the skin can irritate the eyes and nose and can cause dizziness, nausea,

vomiting, and headaches.

       86.     Isobutylene is a colorless, highly flammable gas. Exposure by inhalation or

absorption through the skin can cause irritation, dizziness, drowsiness, and unconsciousness.

       87.     Benzene is a colorless or yellow liquid that is highly flammable, dissolves slightly

in water, has a sweet odor, and evaporates in the air very quickly. The EPA has classified it as a

known carcinogen. Short-term exposure to high levels of benzene can cause drowsiness, dizziness,

unconsciousness, and death. Long-term exposure increases the risk of developing lymphatic and

hematopoietic cancers, acute myelogenous leukemia, as well as chronic lymphocytic leukemia.

OSHA has set limits of 1 part benzene per million (1 ppm) part of workspace air for 8-hour shifts

and 40-hour work weeks.

       88.     In addition to the hazardous chemicals carried on Train 32N, the derailment and

resulting burning of the cars and their carried chemicals resulted in the creation and/or release of

additional constituents and hazardous substances which directly impacted Plaintiff’s property.




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       89.     Aldehydes, including but not limited to Formaldehyde, were created and/or released

into the environment – and onto Plaintiff’s property – by the Train 32N derailment and the burning

of the derailed tanker chemicals. Formaldehyde is a compound with the formula CH ₂O and

structure H−CHO. The pure compound is a pungent, colorless gas that polymerizes spontaneously

into paraformaldehyde. The International Agency for Research on Cancer (IARC) classifies

formaldehyde as a human carcinogen. In 2011, the National Toxicology Program, an interagency

program of the Department of Health and Human Services, named formaldehyde as a known

human carcinogen in its 12th Report on Carcinogens.

       90.     Polyaromatic hydrocarbons (PAHs), including benzo(a)pyrene, were created and/or

released into the environment – and onto Plaintiff’s property – by the Train 32N derailment and the

burning of the derailed tanker chemicals. PAHs generally have a high degree of acute toxicity in

humans and have been associated with increased incidences of lung, skin, and bladder cancers from

occupational exposures. It has been scientifically established that PAHs, after metabolic activation

in vivo, are capable of inducing mutations in oncogenes and, by inducing multiple mutations, may

result in tumors.

       91.     Phthalates, including Bis(2-ethylhexyl)phthalates (DEHP), were created and/or

released into the environment – and onto Plaintiff’s property – by the Train 32N derailment and the

burning of the derailed tanker chemicals. Phthalates are a series of chemical substances, which are

mainly used as plasticizers and can potentially disrupt the endocrine system. Animal studies have

demonstrated that DEHP exposure resulted in liver cancer in rats and mice. The Department of

Health and Human Services (DHHS) has determined that DEHP may reasonably be anticipated to

be a human carcinogen. EPA has determined that DEHP is a probable human carcinogen.

       92.     Dioxins were created and/or released into the environment – and onto Plaintiff’s

property – by the Train 32N derailment and the burning of the vinyl chloride from derailed cars.


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Dioxins are “white crystalline needles” that are invisible to the eyes and generally disperse and

attach to soil and dust particles. Dioxins are highly toxic and carcinogenic, and they can also cause

reproductive and developmental problems, damage to the immune system, and can disrupt normal

hormonal function. As put by a Carnegie Mellon University Chemistry Professor: “[v]inyl chloride

is bad, dioxins are worse” as dioxins are persistent environmental pollutants that may last in the

ground for 60-80 years.

       93.      Petroleum or gasoline constituents (including ethylbenzene, toluene, and xylenes)

and chlorinated solvents (tetrachloroethylene) were created and/or released into the environment –

and onto Plaintiff’s property – by the Train 32N derailment and the burning of chemicals from the

derailed tankers. Ethylbenzene may cause cancer in humans. It causes tumors in the kidneys, lungs,

and liver of animals as well as severe inner ear damage. Exposure to toluene can cause eye and

nose irritation, tiredness, confusion, euphoria, dizziness, headache, dilated pupils, tears, anxiety,

muscle fatigue, insomnia, nerve damage, inflammation of the skin, and liver and kidney damage.

Exposure to xylene can irritate the eyes, nose, skin, and throat. Xylene can also cause headaches,

dizziness, confusion, loss of muscle coordination, and in high doses, death. The Center for Disease

Control (CDC) states individuals may be harmed from exposure to toluene. Tetrachloroethylene is

a colorless liquid with a mild, chloroform-like odor. Exposure to tetrachloroethylene may cause

irritation of the eyes, skin, nose, throat, and respiratory system. It may also cause liver damage and

is a potential occupational carcinogen.

Plaintiff Has Suffered Catastrophic Losses from the Derailment and Burn

       94.      Plaintiff Unity Tube is owned and operated by Robert and Paula Howe (collectively

“the Howes”).




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          95.     Plaintiff was established in 2003 as a manufacturer of Helically Wound Finned

Tubing used in a variety of heat transfer applications and has over 70 years of combined industry

experience.4

          96.    In 2008, the Howes expanded their business and capabilities with the acquisition of

Precise Tube Forming, which became a highly successful division of the business. This expansion

made a significant addition to the range of products they now supply to multiple industries.

Specifically, this division allows Plaintiff to manufacture tube coils and assemblies, including

return bends, guide rails and handles, and tube ends forming including ferrules and tube inserts as

well as custom tube fabrication for multiple industries.

          97.    In 2020, the Howes completed its purchase of the company from its previous

partners giving them 100% ownership of the business, and Plaintiff experienced steady growth in

sales and acquiring new customers throughout 2020-2022, becoming a leading manufacturer of

Helically Wound Finned Tubes, Finned Pipes & Corrugated Tubing for the Heat Transfer Industry.

          98.    Following the Derailment, Plaintiff has suffered numerous setbacks to its business,

including but not limited to, staffing shortages due to potential employees not wanting to live or

work in East Palestine or surrounding areas and a decrease in existing and potential customers due

to concerns of contamination.

          99.    As a direct and proximate result of the Derailment, Plaintiff has lost revenue, has

suffered a loss of past and/or future customer confidence in its ability to operate or fulfill orders,

and will likely never again be able to regain its prior growth trajectory. This lost income, lost

property value, lost investment, and lost business opportunity and income is directly and

proximately due to Defendants’ conduct and is permanent and continuing in nature.

          100.   As a direct and proximate result of the Derailment, and Defendants’ actions prior to

and after the Derailment, the broader community, and specifically each named business owner
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    See https://www.unitytube.com/about-us/ (last visited January 24, 2025).
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Plaintiff, has been subjected to intense emotional distress as their businesses, life’s work, and

livelihoods were irreparably harmed. This emotional distress would have been foreseeable to

Defendants, and to any reasonable business which operated in the same manner as Defendants, and

it is permanent and continuing in nature.

                                      COUNT I: NEGLIGENCE

        101.     Plaintiff restates, realleges, and incorporates by reference the preceding paragraphs

as if fully set forth herein.

        102.     Defendants had a duty of care to operate, maintain, inspect, and repair their railway

and Train 32N in a reasonable manner which would not cause Plaintiff harm while still complying

with all federal statutory requirements. Defendants failed this duty.

        103.     Defendants had a duty of care to operate, maintain, inspect, and repair their railway

and Train 32N in a manner which was consistent with their own internal safety guidelines while

still complying with all federal statutory requirements. Defendants failed this duty.

        104.     Defendants had a duty of care to operate, maintain, inspect, and repair their railway

and Train 32N in a manner which was consistent with their own externally stated safety practices

while still complying with all federal statutory requirements. Defendants failed this duty.

        105.     Defendants knew or should have known of the dangers of the failure to operate,

maintain, inspect, and repair their railway and Train 32N in a reasonable manner and that failure

could reasonably lead to a breach of this duty resulting in the damages incurred by the Plaintiff.

        106.     Defendants are under a heightened duty to operate, maintain, inspect, and repair

their railcars known to be used for transporting toxic and hazardous chemicals. Defendants failed

this duty.

        107.     Defendants had control over this equipment and property at all times herein.

        108.     Defendants breached their duty of care to Plaintiff by their failure to:


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    a)    Operate, maintain, inspect, and/or repair the railway and railcars in such a
          way as to ensure their safe and proper operation during the ordinary course
          of business, particularly while transporting toxic and hazardous materials;

    b)    Ensure proper procedures, alarms, and/or other systems for timely
          monitoring malfunctions of the railway and railcars to prevent or mitigate
          derailments, particularly while transporting toxic and hazardous materials.

    c)    Ensure proper safety procedures in the event of a mechanical malfunction of
          the railway or railcars, particularly while transporting toxic and hazardous
          materials.

    d)    Ensure a proper mechanism for stopping or mitigating malfunctioning
          railcars in a timely manner without derailment, particularly while
          transporting toxic and hazardous materials.

    e)    Avoid and/or prevent overloading the train with excessive railcars or
          materials;

    f)    Load the railcars consistent with the accepted practice;

    g)    Load the railcars to avoid placements of the heavier cars in the rear, or
          “backloading”, with particular consideration to whether the planned route is
          downhill;

    h)    Ensure to have an adequate number of staff for purposes of planning,
          coordinating, overseeing, and monitoring the transportation of toxic and
          hazardous materials by railcar;

    i)    Hire, train, manage, and supervise their agents, servants, employees,
          including but not limited to, the train engineer and dispatcher concerning the
          operation of Train 32N at the time of the Derailment;

    j)    Properly and adequately determine the qualifications, skill, and capabilities
          of their agents, servants, employees, including but not limited to, the train
          engineer and dispatcher concerning the operation of Train 32N at the time of
          the Derailment;

    k)    Ensure that their agents, servants, employees, including but not limited to,
          the train engineer and dispatcher, were properly and adequately instructed
          and trained, particularly while transporting toxic and hazardous materials;

    l)    Properly instruct and adequately train their agents, servants, employees,
          including but not limited to the train engineer and dispatcher concerning the
          safety and emergency procedures in the event of a possible derailment;

    m)    Route railcars transporting toxic and hazardous materials in such a way as to
          avoid populated areas in order to minimize the risk of accidental exposure;

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    n)    Adequately warn those in danger of exposure to toxic and hazardous
          materials;

    o)    Institute proper procedures and training for response to the mechanical
          malfunction of a railcar;

    p)    Institute proper procedures and alarms to identify and address fire on a
          railcar that contains toxic and hazardous materials;

    q)    Institute proper procedures and training for response to a derailment of
          railcars, particularly while transporting toxic and hazardous materials;

    r)    Institute proper procedures to avoid exposing toxic and hazardous materials
          to the environment;

    s)    Implement or have an emergency response plan to contain the spread of
          toxic and hazardous materials into the surrounding air, water, property, and
          persons in the event of a derailment;

    t)    Institute proper procedures for timely notifying           the   appropriate
          governmental authorities in the event of a derailment;

    u)    Timely implement an emergency-response plan in the event of a derailment;

    v)    Transport and handle toxic and hazardous materials so as to not cause harm
          to Plaintiff, as Plaintiff was foreseeable victims located within the Danger
          Zone of Defendants conduct;

    w)    Properly dispose of or otherwise eliminate the toxic and hazardous materials
          from the derailment site, including but not limited to the use of techniques
          that further exposed Plaintiff to these said toxic and hazardous chemicals;

    x)    Evacuate an appropriate geographical radius to avoid exposing individuals to
          toxic and hazardous materials and causing further injuries and/or damages;

    y)    Accurately make known the risk of catastrophic injury and illness from
          exposure to these toxic and hazardous materials to individuals at risk of
          exposure, including those outside the evacuation zone;

    z)    Reasonably pack, transport, maintain, dispose of, or otherwise handle these
          toxic and hazardous materials; and

    aa)   Otherwise unreasonably causing injury to Plaintiff in ways further
          investigation and discovery will reveal.




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        109.    Defendants owed and breached a duty of reasonable care commensurate with the

risk of transporting toxic and hazardous materials by railcar.

        110.    Defendants owed and breached a duty of reasonable care commensurate with the

release and burning of toxic and hazardous materials.

        111.    Defendants owed and breached a duty of reasonable care to adequately address the

spilled toxic and hazardous materials after the Derailment had taken place.

        112.    Defendants prioritized the immediate resumption of its train operations over, and to

the detriment of, taking the immediate and necessary steps to address the environmental

catastrophe it unleased on Plaintiff.

        113.    The damages sustained by Plaintiff were caused by and/or aggravated by the fact

that Defendants failed to take necessary actions to mitigate the dangers associated with its

operations.

        114.    As a direct and proximate result of Defendants’ discharge, disposal, distribution,

and release of toxic and hazardous materials throughout the area in which the Plaintiff operates and

own property, Plaintiff presently suffers, and will continue to suffer, property damage, out of

pocket expenses, loss of the quiet use and enjoyment of property, diminution of property value,

loss of business income, loss of business goodwill, and inconvenience and emotional distress.

        115.    Defendants’ conduct as alleged herein shows that it acted maliciously, with

aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so as to warrant

imposing punitive damages.

                                 COUNT II: STRICT LIABILITY

        116.    Plaintiff restates, realleges, and incorporates by reference the preceding paragraphs

as if fully set forth herein.




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       117.     Defendants are strictly liable for the injuries and damages suffered by Plaintiff

pursuant to the provisions of the Restatement (Second) of Torts §§ 519 and 520.

       118.     At all times relevant to this action, Defendants were the owner and operator of Train

32N.

       119.     At all times relevant to this action, Defendants had supervision, custody, and control

of Train 32N.

       120.     At all times relevant to this action, Defendants owed and breached a duty of

reasonable care to adequately address the spilled toxic and hazardous materials after the Derailment

had taken place.

       121.     At all times relevant to this action, Defendants were under a continuing duty to

protect the Plaintiff from the toxic and hazardous materials.

       122.     The transportation of these toxic and hazardous materials, including but not limited

to vinyl chloride, is an abnormally dangerous and/or ultrahazardous activity under the definition set

forth in Restatement (Second) of Torts §§ 519 and 520.

       123.     Defendants engaged in an abnormally dangerous and/or ultra-hazardous activity for

which common law strict liability applied for transporting hazardous substances which Defendants

knew to be dangerous and failing to take proper precautions.

       124.     Had Defendants not engaged in the abnormally dangerous and/or ultra-hazardous

activity, Plaintiff would not have had its property contaminated or exposed to dangerous level of

these toxic and hazardous materials, and it would not endured the other damages set forth herein.

       125.     The harm to Plaintiff was and is the kind of harm that would be reasonably

anticipated as a result of the risks created by transporting toxic and hazardous materials in close

proximity to residential, commercial, and agricultural areas.




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        126.    Defendants’ operations and toxic discharges were, and will, remain a substantial

factor in causing harm to Plaintiff.

        127.    As a direct and proximate result of Defendants’ acts or omissions in the course of

conducting this abnormally dangerous and/or ultra-hazardous activity, Plaintiff presently suffers,

and will continue to suffer, property damage, out of pocket expenses, loss of the quiet use and

enjoyment of property, diminution of property value, loss of business income, loss of business

goodwill, and inconvenience and emotional distress.

        128.    Defendants are strictly liable, jointly and severally, without regard to fault, for all

damages to Plaintiff, which were a direct and proximate result of the Derailment and release of

toxic and hazardous materials that harmed Plaintiff as described herein.

        129.      Defendants’ conduct as alleged herein shows that it acted maliciously, with

aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so as to warrant

imposing punitive damages.

                                COUNT III: PRIVATE NUISANCE

        130.    Plaintiff restates, realleges, and incorporates by reference the preceding paragraphs

as if fully set forth herein.

        131.    Defendants have created a condition that is harmful to the health of anyone utilizing

Plaintiff’s property and thus interferes with the use and enjoyment of that property, caused

displacement and business interruption, and caused Plaintiff to suffer the injuries and

inconvenience described herein.

        132.    Plaintiff has suffered, and will continue to suffer from, injuries that are different

from those experienced by the public generally, including the contamination of its property and

interference with its business and the use and enjoyment of its property.




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        133.    The seriousness of the harm associated with Defendants’ discharge of toxic and

hazardous materials outweighs the public benefit of Defendants’ conduct.

        134.    Defendants knew or should have known that the toxic and hazardous materials it

was transporting were harmful to individuals and real property, and that it was substantially certain

that improper transportation, handling, and disposal of such materials would cause injury to

Plaintiff and its property.

        135.    Defendants knew or should have known that their post Derailment mitigation efforts

would inadequately address the spilled toxic and hazardous materials and serve to exacerbate the

damages to Plaintiff and the wider community.

        136.    Defendants’ contamination of Plaintiff’s property with toxic and hazardous

substances has unreasonably and substantially interfered with its rights to use and enjoy its

property.

        137.    Defendants’ contamination of Plaintiff’s property with toxic and hazardous

substances has caused and will continue causing them to, among other things, refrain from

occupying or using its real property, being able to sell finished products that were contaminated,

and allowing employees to safely occupy and use its facility. This has, in turn, caused significant

loss of income, out of pocket expenses, diminution in property value, and inconvenience.

        138.    Defendants’ negligent, reckless and/or intentional acts and omissions were

unreasonable and constitute invasion of the property rights of Plaintiff.

        139.    Plaintiff, unlike the public generally, has suffered specific injuries as a result of

Defendants’ tortious conduct including the contamination of its property and interruption of

virtually all of its ongoing business activity.




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        140.    Defendants’ improper transportation and handling of toxic and hazardous materials,

both before and after the Derailment itself, and the contamination of Plaintiff’s property resulting

therefrom, constitutes a private nuisance.

        141.    Defendants’ improper transportation and handling of toxic and hazardous materials

has directly and proximately caused Plaintiff to presently suffer, and continue to suffer in the

future, real property damage, out of pocket expense, personal property damage, loss of use and

enjoyment of property, diminution in property value, loss of business income, loss of business

goodwill, and inconvenience.

        142.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so as to

warrant the imposition of punitive damages.

                                COUNT IV: PUBLIC NUISANCE

        143.    Plaintiff restates, realleges, and incorporates by reference the preceding paragraphs

as if fully set forth herein.

        144.    Defendants’ improper transportation and handling of toxic and hazardous materials

has created conditions that are harmful to the health of anyone utilizing Plaintiff’s property and

thus interferes with the use and enjoyment of that property, caused displacement and business

interruption, and caused Plaintiff to suffer the injuries and inconvenience described herein.

        145.    As a result of Defendants’ actions and/or inactions, Plaintiff has suffered a

permanent loss of use and enjoyment of its property.

        146.    Defendants knew or should have known that the toxic and hazardous materials

being transported were hazardous and harmful to real property and individuals, and it was

substantially certain that improper transportation and handling of these materials were hazardous

and harmful to property and people living in surrounding communities.


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        147.   Defendants knew or should have known that their post Derailment mitigation efforts

would inadequately address the spilled toxic and hazardous materials and serve to exacerbate the

damages to Plaintiff and the wider community.

        148.   Plaintiff has a common right to enjoy its real property free from dangerous

contamination, to have clean air in and around its business, have access to clean running water

without dangerous levels of toxic chemicals, and to operate its business without unreasonable

exposure to toxic chemicals.

        149.   Defendants’ improper transportation and handling of toxic and hazardous materials

substantially and unreasonably infringed upon these public rights.

        150.   As a direct and/or proximate result of Defendants’ improper transportation and

handling of toxic and hazardous chemicals, Plaintiff’s and the general public’s common right to

breathe clean air and have access to clean water without dangerous levels of toxic chemicals was

severely diminished, if not entirely eliminated.

        151.   As a direct and/or proximate result of Defendants’ mishandling of toxic and

hazardous materials, both before and after the Derailment itself, Defendants invaded and

contaminated the areas surrounding Plaintiff’s business, thus exposing all employees and other

users of Plaintiff’s property to toxic chemicals and carcinogens.

        152.   Defendants’ release of these toxic and hazardous materials also affects and will

continue to affect the public at large, causing massive environmental damage to the surrounding

area.

        153.   Defendants’ conduct is a substantial factor in creating a public nuisance and the

public’s exposure to toxic chemicals resulting therefrom, Plaintiff presently suffer, and will

continue to suffer, real property damage, out of pocket expense, personal property damage, loss of

use and enjoyment of property, diminution in property value, and inconvenience.


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        154.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so as to

warrant the imposition of punitive damages.

                                      COUNT V: TRESPASS

        155.    Plaintiff restates, realleges, and incorporates by reference the preceding paragraphs

as if fully set forth herein.

        156.    Defendants, though its tortious conduct alleged herein, caused and/or allowed

dangerous chemicals to enter and contaminate Plaintiff’s property.

        157.    Defendants knew or should have that the chemicals being transported were

hazardous and harmful to real property, animals, and individuals, and it was substantially certain

that their use, emission, discharge, disposal, distribution, spreading and/or release of these toxic

and hazardous materials would cause injury to Plaintiff and its property.

        158.    Defendants knew or should have known that their post Derailment mitigation efforts

would inadequately address the spilled toxic and hazardous materials and serve to exacerbate the

damages to Plaintiff and the wider community.

        159.    Defendants intentionally, knowingly, and/or negligently discharged and released

highly toxic chemicals onto the property of Plaintiff.

        160.    Defendants, through their activities alleged herein, authorized, requested, or caused

others to dispose of waste in a manner which they knew was substantially likely to cause hazardous

materials to enter and contaminate Plaintiff’s property. Through its actions in intentionally causing

others to spread their waste, they intentionally, knowingly, and/or negligently caused hazardous

materials to enter Plaintiff’s land and water.

        161.    Defendants intentionally, knowingly, negligently, carelessly, and/or recklessly

caused a trespass in the following manners:


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        a)        by discharging through the Derailment and resulting fires pollutants, particulates,
                  oily residue, and chemicals to release into the air, water, and soils; and

        b)        by allowing or causing such chemicals to discharge, seep, or migrate underground in
                  such a manner that it was reasonably foreseeable that the toxic material would, in
                  due course, invade Plaintiff’s real property and cause physical injury to that
                  property.

        162.      At all times, Defendants’ conduct displayed indifference to and disregard for

Plaintiff’s right to enjoy the safe use of its safe property and environment.

        163.      Defendants’ conduct invaded the real property of Plaintiff and interfered with its

possessory interests of that property.

        164.      The discharge of toxic and hazardous materials onto the real property of Plaintiff

caused physical damage to its property by casting over its property a plume of offensive emissions,

pollutants, depositing chemical residue on its business, causing damage to the buildings and

landscaping, and invading its real property with a nauseating smell over a continuous and sustained

period of time.

        165.      The discharge of toxic and hazardous materials caused Defendants to enter, invade,

and intrude on the real property of Plaintiff without its privilege, permission, consent,

authorization, invitation, or justification.

        166.      Defendants’ intentional, knowing, and negligent contamination, and continuing

contamination, of Plaintiff’s real and personal property with toxic and hazardous materials has

interfered with its rights to use and enjoy its property and constitutes trespass and continuing

trespass. Defendants’ trespass has substantially impaired Plaintiff’s rights in the use and enjoyment

of its property as well as economic and property damages as alleged herein.

        167.      Defendants’ trespass has also interfered with, and continues to interfere with,

Plaintiff’s ability to use and enjoy its property, to avail itself of the property’s value as an asset




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and/or source of collateral for financing, and to use its property to operate its business or in any

other manner that Plaintiff so choose.

        168.    As a direct and/or proximate result of Defendants’ intentional, knowing, and

negligent discharge of highly toxic and hazardous chemicals into Plaintiff’s property, Plaintiff is

entitled to damages, in an amount to be proven at trial, including, but not limited to, property

damage, diminution of value of real estate, the cost to repair the damage and restore the property to

its pre-trespass condition, the costs of recovering possession of the property, business losses, and

the value of its lost use of the property as a result of all trespass and for Defendants’ ongoing

trespass.

        169.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so as to

warrant the imposition of punitive damages.

                       COUNT VI: WILLFUL AND WANTON CONDUCT

        170.    Plaintiff restates, realleges, and incorporates by reference the preceding paragraphs

as if fully set forth herein.

        171.    Defendants owed Plaintiff a duty to refrain from willful, wanton, reckless and

outrageous conduct and/or conduct which exhibited an utter indifference and/or conscious

disregard to the health, safety, and well-being of Plaintiff.

        172.    Upon information and belief, Defendants were aware that they were transporting

materials that were highly toxic, carcinogenic, mutagenic, and/or otherwise harmful to human

beings, animals, and the environment.

        173.    Upon information and belief, Defendants were aware that transporting, releasing,

and igniting substances that were highly toxic, carcinogenic, mutagenic, and/or otherwise harmful




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to individuals, animals, and the environment could result in unreasonably dangerous emission of

toxic and hazardous materials into the surrounding communities.

       174.    Defendants knew or should have known that at least one railcar was malfunctioning

and/or on fire for at least 20 miles before the Derailment.

       175.    Upon information and belief, Defendants violated 49 CFR § 215.115(a) for at least

20 miles by allowing a defective wheel bearing to remain in service before the Derailment.

       176.    Defendants knew or should have known that their post Derailment mitigation efforts

would inadequately address the spilled toxic and hazardous materials and serve to unreasonably

exacerbate the damages to Plaintiff and the wider community.

       177.    Despite this knowledge, and contrary to federal and standard industry practices and

procedures, Defendants breached their duties as described in Count I above.

       178.    Defendants’ failures to exercise any care toward Plaintiff as described in Count I

above and other respects constitute willful, wanton, reckless and outrageous conduct, and

demonstrates an utter indifference and/or conscious disregard for the Plaintiff and property and to

the health, safety, and well-being of anyone using Plaintiff’s property.

       179.    The failures to exercise any care toward Plaintiff occurred under circumstances for

which the probability of harm was great and the probability of harm was known to Defendants.

       180.    Through their unreasonable and dangerous actions and omissions described above,

Defendants intentionally deviated from a clear duty or definite rule of conduct, acted with a

deliberate purpose not to discharge a duty necessary to safety, or purposely performed wrongful

acts with knowledge and appreciation of the likelihood of resulting injury.

       181.    As a direct and/or proximate result of Defendants’ willful, wanton, reckless and

outrageous transportation, emission, discharge, and release of toxic and hazardous materials near

Plaintiff’s property, Plaintiff presently suffers, and will continue suffering in the future, real


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property damage, out of pocket expense, personal property damage, loss of use and enjoyment of

property, diminution in property value, loss of business income, loss of business goodwill, and

inconvenience.

        182.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiff’s rights so as to

warrant the imposition of punitive damages.

     COUNT VII: NEGLIGENT AND INTENTIONAL INFLICTION OF EMOTIONAL
                                DISTRESS

        183.    Plaintiffs restate, reallege, and incorporate by reference the preceding paragraphs

as if fully set forth herein.

        184.    Defendants’ acts and/or omissions, including continuing to pollute the environment

and subsequently exposing each Plaintiff, other exposed individuals, and the general public to

dangerous and harmful chemicals, and remediation or clean-up of the same, which directly affected

their business interests, has caused specific harm and damages to named Plaintiffs.

        185.    At all relevant times, it was foreseeable, and Defendants were certain and/or

substantially certain, that its acts and/or omissions would cause emotional distress to the business

owner Plaintiffs, other exposed individuals, and the general public.

        186.    Defendants’ acts and/or omissions were both negligent and irresponsible as well as

extreme, outrageous, intolerable and/or offended the generally accepted standards of decency and

morality.

        187.    Defendants’ long-term, repeated, extreme, irresponsible, and/or negligent actions

and/or omissions are strong evidence that each Plaintiff business owner’s severe emotional distress

is and was justified.




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       188.    Defendants acted in an extreme, outrageous and intolerable manner which offended

the generally accepted standards of decency and morality for all the reasons contained within

Count VI (Willful and Wanton Conduct) of this complaint.

       189.    As a direct and proximate result of the Defendants’ acts and/or omissions, and

concealment and/or affirmative misrepresentations, each Plaintiff suffered economic and other

damage and injury as alleged herein for which Defendants are therefore liable.

       190.    As a direct and proximate result of the foregoing acts and/or omissions, each

business owner Plaintiff suffered from and/or will suffer from emotional distress with related direct

and proximate damages.

       191.    Defendants’ conduct as alleged herein shows that while Defendants acted with

irresponsible negligence at times, they also acted maliciously, with aggravated or egregious fraud,

and/or intentionally disregarded Plaintiff’s rights so as to warrant the imposition of punitive

damages.




       Dated: January 30, 2025.                       Respectfully submitted,

                                                      /s/ Jon C. Conlin
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